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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 In re                                 §                             Chapter 11
                                       §
 HOUSTON REGIONAL SPORTS NETWORK, L.P. §                             Case No. 13-35998
                                       §
            Debtor.                    §


                EMERGENCY MOTION OF PROPONENTS TO SEAL
          PROPONENTS’ BRIEF IN SUPPORT OF PROPONENTS’ VALUATION

         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
         YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
         CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF
         YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE
         A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU
         MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
         DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE
         WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT
         FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
         WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
         MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
         ATTEND THE HEARING.       UNLESS THE PARTIES AGREE
         OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
         HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

         REPRESENTED               PARTIES         SHOULD          ACT   THROUGH         THEIR
         ATTORNEY.

         AN EMERGENCY HEARING ON THIS MATTER HAS BEEN
         REQUESTED. IF THE COURT CONSIDERS THE MOTION ON AN
         EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS
         TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF
         YOU BELIEVE THE EMERGENCY CONSIDERATION IS NOT
         WARRANTED, YOU SHOULD FILE AN IMMEDIATE RESPONSE.

TO THE HONORABLE MARVIN ISGUR, UNITED STATES BANKRUPTCY JUDGE:

         Houston Regional Sports Network, L.P. (“HRSN” or the “Debtor”), as debtor and debtor

in possession, Houston Astros, LLC, and Rocket Ball, Ltd. (collectively, the “Proponents”) file




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this Emergency Motion of Proponents to Seal Proponents’ Brief in Support of Proponents’

Valuation (the “Motion”). In support of the Motion, the Proponents respectfully represent:

                                             Basis for Emergency Relief

        1.       The Proponents file this Motion on an emergency basis to request authority from

the Court to file, under seal, a copy of the Proponents’ Brief in Support of the Proponents’

Valuation (the “Proponents’ Valuation Brief”), to be delivered to the Court contemporaneously

with the filing of this Motion, as required under the Confirmation Briefing Deadline Order

(defined below). Consideration of the Motion on an emergency basis will allow the Proponents

to ensure, as soon as possible, that the confidential and/or highly confidential materials contained

in the Proponents’ Valuation Brief are protected pursuant to the Protective Order (defined

below).

                                                Jurisdiction and Venue

        2.       This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue of this case and this

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                  Background

        3.       On September 27, 2013 (the “Petition Date”), certain petitioning creditors filed a

petition for involuntary bankruptcy relief pursuant to section 303 of the Bankruptcy Code.

        4.       On February 4, 2014 (the “Commencement Date”), the Court entered an Order for

Relief and Case Management Order.

        5.       The Debtor continues to manage and operate its business as a debtor-in-

possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No official committee

of unsecured creditors has been appointed in this Chapter 11 case. Further, no trustee or



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examiner has been appointed in this bankruptcy case.

           6.       The Debtor develops, owns and operates a regional television sports network in

and around the greater Houston, Texas metropolitan area. The network’s content includes sports

events involving Houston-based athletic organizations, including the Houston Astros and the

Houston Rockets.

           7.       The Debtor has three (3) limited partners: Houston SportsNet Holdings, LLC,

which is an affiliate of Comcast, Inc. (“Comcast Owner”); Rockets Partner, L.P. (the “Rockets”);

and Astros HRSN LP Holdings LLC (the “Astros”). The Debtor’s general partner is Houston

Regional Sports Network, LLC (the “General Partner”).

           8.       On September 4, 2014, the Proponents filed the Amended Chapter 11 Plan of

Reorganization dated September 4, 2014 In Respect of Houston Regional Sports Network, L.P.

(as subsequently amended and/or modified, the “Plan”) (Doc. No. 528). Also on September 4,

2014, the Court entered the Order (a) Approving the Disclosure Statement, (b) Scheduling a

Hearing to Consider Confirmation of the Plan, (c) Establishing Voting, Objection and Other

Confirmation Related Deadlines, and (d) Approving Forms of Ballots and Solicitation

Procedures (the “Disclosure Statement Order”) (Doc. No. 526).

           9.       Pursuant to the Disclosure Statement Order, the Proponents and the Comcast

Entities1 were required to file trial/confirmation briefs by September 29, 2014. On September

30, 2014 the Court entered its Order Granting Emergency Motion of Houston Regional Sports

Network, L.P. for Continuance of Confirmation Briefing Deadline (the “Confirmation Briefing

Deadline Order”) (Doc. No. 645). The Confirmation Briefing Deadline Order extended the

deadline for the Proponents and the Comcast Entities to file trial/confirmation briefs to October

3, 2014 at 12:00 p.m. (Central). At the hearing held in this case on October 2, 2014, the Court
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    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Plan.

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(i) ordered that an evidentiary hearing on the valuation of the collateral of Comcast Lender (as

defined in the Plan) would commence on October 6, 2014 at 9:00 a.m. (Central); and (ii)

recommended that the trial/confirmation briefs to be submitted on October 3, 2014 at 12:00 p.m.

(Central) address only the valuation of the Comcast Lender’s collateral in connection with the

Plan.

                                               Relief Requested

        10.      Pursuant to the Disclosure Statement Order, the Confirmation Briefing Deadline

Order, and the Court’s guidance at the October 2, 2014 hearing, the Proponents will submit to

the Court and the Comcast Entities, by 12 p.m. (Central) on October 3, 2014, an unredacted copy

of the Proponents’ Valuation Brief.                  The Proponents’ Valuation Brief contain certain

information that has been designated as Confidential and/or Highly Confidential under the terms

of the Stipulation and Agreed Order Governing the Production and/or Disclosure of

Confidential Plan Documents and Discovery Materials and Authorizing the Filing of Certain

Documents Under Seal (the “Protective Order”) (Doc. No. 492).

        11.      By this Motion, pursuant to Section 107(b)(1) of the Bankruptcy Code and Rule

9018 of the Federal Rules of Bankruptcy Procedure, the Proponents request that the Court

authorize the filing of the Proponents’ Valuation Brief under seal.

        12.      Paragraph 19 of the Protective Order provides that information designated as

“Confidential” or “Highly Confidential” under the terms of the Protective Order be submitted to

the Court under seal. As stated above, the Proponents will submit an unredacted version of the

Proponents’ Valuation Brief to the Court and the Comcast Entities. If the Court grants the

Motion, the Proponents will, upon approval from the Comcast Entities pursuant to paragraph 19

of the Protective Order, promptly file a proposed, redacted version of the Proponents’ Valuation

Brief on the docket. To protect the confidentiality of the information designated as Confidential

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and/or Highly Confidential, the Proponents request that the unredacted version of the

Proponents’ Valuation Brief submitted to the Court be kept under seal pursuant to the Protective

Order.

         WHEREFORE the Proponents respectfully request the entry of an order granting the

relief requested herein and such other and further relief as is just and proper.

Dated: October 3, 2014
       Houston, Texas                                 HAYNES AND BOONE, LLP

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                    Certification of Accuracy Pursuant to Local Rule 9013-1(i)

        Pursuant to Local Rule 9013-1(I), undersigned counsel hereby certifies the accuracy of
the facts set forth in the foregoing Motion.

                                                                      /s/ Charles A. Beckham, Jr.
                                                                      Charles A. Beckham, Jr.




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